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VIA HAND DELIVERY
VIA ECF

The Honorable Colleen McMahon
United States Courthouse

Southern District of New York

500 Pearl Street

New York, New York 10007-1312

Re: NIKE, Inc. and Converse Inc. v. Wu et al., No. 13-cv-8012 (CM)
Dear Judge McMahon:

This firm represents assignee Next Investments, LLC (“Next”) in the above-referenced
action. I write pursuant to Your Honor’s Individual Rule of Practice IV.A to provide
courtesy copies of the papers that Next filed on March 16, 2018 in opposition to certain third
party banks’ motion to quash and in support of its cross-motion to compel (“Next’s Cross
Motion”). See generally ECF Nos. 82 — 88.

I also write to respond to your Order dated March 19, 2018 (ECF No. 89) in which you
requested that Next submit both full and redacted copies of its Cross Motion. In brief, the
papers that we submitted were carefully structured to minimize the amount of material that
needs to be sealed—limited to two exhibits to a declaration that was filed separately from the
remainder of the supporting exhibits to make it logistically easy to file those two exhibits
under seal. The supporting brief is written so that it could be filed publicly without a need
for redaction, and several of the supporting documents are filed as declaration exhibits with
account numbers already redacted pursuant to Federal Rule of Civil Procedure 5.2.

I provide this additional background for the sake of clarity. The two exhibits that Next seeks
to seal were produced by third-party Mastercard with the understanding that Next would seek
the protection of a sealing order from the Court. Next filed its letter motion to file
documents under seal on March 13, 2018 (Next’s “Motion to Seal”) in advance of filing its
Cross Motion to give the Court more of an opportunity to consider these issues.
Simultaneously, Next submitted a Proposed Stipulation and Protective Order for your
approval (the “Proposed Protective Order”), which reflects the terms of an agreement
between Next and Mastercard as to the appropriate procedures for protecting confidential
documents. In order to limit the scope of any sealing order issued by this Court, Next only
asks that the sealing order apply to the two exhibits attached to the Declaration of Lauren
Nagin in Support of Next’s Cross Motion, dated March 16, 2018 (the “Nagin Declaration”).
As aresult, the Court need only compare the redacted and unredacted copies of Exhibits 1
and 2 to the enclosed Nagin Declaration.

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March 20, 2018
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Please let us know if there is anything further we can do to assist the Court with its
consideration of this matter.

Sincerely,

Enclosure

cc: All Counsel of Record (Counsel for the Moving Banks and Bank of China) (via ECF)
Matthew C. Daly, Esq. (Counsel for Mastercard) (via Email)
